 Case: 4:20-cv-01527-JSD         Doc. #: 138 Filed: 01/06/25         Page: 1 of 2 PageID #:
                                           1285


                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

MARC A. MANZO,                                  )
                                                )
               Plaintiff,                       )
                                                )          No. 4:20-cv-01527-JSD
       v.                                       )
                                                )
ST. CHARLES COUNTY, et al.,                     )
                                                )
               Defendant.                       )

                              MEMORANDUM AND ORDER

       Before the Court is Defendant St. Charles County’s (“St. Charles County”) Motion to

Reconsider its Motion for Costs (“Motion”) [ECF No. 137]. On December 18, 2024, St. Charles

County filed a Motion/Bill of Costs with the Court [ECF No. 126]. On January 2, 2025, this Court

denied that Bill of Costs because, under the circumstances of this case, it would be improper to

reimburse St. Charles County for expenses from the Eastern District of Missouri’s Non-

Appropriated Fund [ECF No. 136]. In the instant Motion, St. Charles County asks this Court to

reconsider its denial of St. Charles County’s Bill of Costs on the grounds that it does not seek

reimbursement of costs from the Eastern District of Missouri’s Non-Appropriated Fund, but

submitted its Bill of Costs as the prevailing party to be taxed against Plaintiff Marc A. Manzo

(“Manzo”) in accordance with Fed. R. Civ. P. 54(d)(1) and Local Rule 8.03(A)(1).

Accordingly,

       IT IS HEREBY ORDERED that this Court’s January 2, 2025 Memorandum and Order

[ECF No. 136] denying St. Charles County’s Motion for Bill of Costs is VACATED.

       IT IS FURTHER ORDERED that Manzo shall have up to and including January 20,

2025 in which to respond to St. Charles County’s Bill of Costs.

       IT IS FINALLY ORDERED that St. Charles County shall have seven (7) days from the
 Case: 4:20-cv-01527-JSD         Doc. #: 138 Filed: 01/06/25   Page: 2 of 2 PageID #:
                                           1286


filing of any response from Manzo to reply.




Dated this 6th day of January, 2025.

                                              JOSEPH S. DUEKER
                                              UNITED STATES MAGISTRATE JUDGE




                                              2
